Case 2:05-cV-02307-.]PI\/|-Cgc Document 38 Filed 08/29/05 Page 1 of 2 Page|D 29

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FOR THE wEsTERN DISTRICT oF TENNESSEE

WESTERN DIVISION 05 hug 29 PH hi 22
mens i§. GOLID ~ -
CARRIER CORPORATION, ) GLERK U-§.- F*WM
) W:]D r!:' ;"."+`; §¥"T_`.i‘
Plaintiff, )
)
V_ ) CIVIL NO. 2:05-CV-2307-Ml/V
)
PAUL P. PIPER, JR., ET AL. )
)
Defendants. )

ORDER

AND NOW, this aff day of dujg 2005 , upon consideration of the Motion
of Plaintiff Carn`er Corporation for Leave to File an Amended Complaint and the
accompanying Memorandum of Law, it is hereby ORDERED that the Motion is

GRANTED.

Dated@M, 2005 0
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UNITED STATES W 31ng

 

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STAMI'”°Q”" with Rule 5a and/or 79{3) FRCP on g B 1235

 

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ESSEE

 

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Honorable J on McCalla
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